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Attomey for Defendant michael Avenatti

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER

PLAINTIFF SA-CR-19-61-JVS

MICHAEL AVENATTI

 

APPLICATION FOR

REVIEW/RECONSIDERATION OF ORDER
SETTING CONDITIONS OF

BEFENTIANT. RELEASE/DETENTION

(18 U.S.C. §3142) AND REQUEST FOR HEARING

 

 

Application is made by O plaintiff “defendant Michael Avenatti
that a hearing be held to review /reconsider the decision of

C) United States District Judge by order dated:

 

[Y Magistrate Judge J. Early by order dated:

 

C) denying release and imposing detention under subsection D (d) or O (e) of Title 18 U.S.C. §3142; or
ordering release upon certain conditions, or
O denying detention.

This application is made pre-sentence OU post-sentence based on the following facts not previously considered by

said judicial officer or changed circumstances as follows:
Please see attached.

Relief sought (be specific):
Travel conditions modified to allow travel in the continental U.S. with notice to Pre-Trial Services 24 hours in advance.
Mirrors the bond restrictions on Southern District of new York cases.

Counsel for the defendant and plaintiff United States Government consulted on June 3, 2019
and opposing counsel declines to stipulate to an order providing the relief sought.

SA E-mail notice givento (AUSA 1 Defendant's Counsel PSA C Interpreter USM CO Probation

on G-O-G

An interpreter is O required not required. Language

 

Defendant is 1 in custody *% not in custody.
June £2019 H. Dean stad KON

Dateg Moving Party .

 

 

APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF

RELEASE/DE TENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
 

 

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Supplement to Application for Review
of Order Setting Conditions

U.S. v. Michael Avenatti
SA-CR-19-61-JVS

I. Introduction

The defense here merely seeks a minor modification of Mr. Avenatti's travel
conditions relating to the matter pending in this district. In addition to the necessity,
the modification will bring bail conditions in this case in line with those of two cases
pending in the Southern District of New York (“SDNY”), the location of Mr.
Avenatti’s arrest and first appearance on March 25, 2019. The United States
Attorney’s Office of SDNY recently stipulated to these modified conditions, which
were subsequently approved by two different judges in the Southern District on May
28, 2019,

In particular, the defense requests that Mr. Avenatti’s travel no longer require
the pre-approval of the United States Attorney’s Office in this district and Pre-Trial
Services as initially required, but rather that Mr. Avenatti’s travel be “restricted to
SDNY/EDNY/CACD with domestic travel with prior notification with PTS." This is
the exact condition that that the Department of Justice agreed to last week in U.S. v.
Michael Avenatti CR-19-3 74-DAB, docket #5, p. 5 of 8, SDNY, and in the pending

Nike matter.

 

 
 

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Pre-Trial Services does not object to the change, but inexplicably, the U.S.
Attorney's Office in this district Opposes the change’. They do so despite the fact that
(1) Pre-Trial Services has no objection and (2) their colleagues with the Department of
Justice in New York and two federal judges in the Southern District all recently
approved the change.”

II. Changed Circumstance

Defendant recently retained lead defense counsel in the Nike matter pending in
the SDNY, Messrs. Jose Quinon and Scott Srebnick, who are located in Miami,
Florida. Mr. Avenatti is actively assisting his attorneys in preparing the Nike matter

for trial and needs to meet and confer with his counsel in that case on a regular basis.

 

Contacted by e-mail June 3, 2019,

* The alleged rationale for the objection by the U.S. Attorney’s Office here lacks all
merit. In meet and confer correspondence, they argue against the modification based
on an alleged claim that (a) Mr. Avenatti poses a “financial danger” to the community
and (b) may seek to tamper with witnesses or obstruct Justice. Putting aside the fact
that neither of the two claims has much support, if any, the government cannot
reasonably show that modifying Mr. Avenatti’s travel conditions will have any

of his bail conditions. More Importantly for the purposes of this request, however, the
Court will note that Mr. Avenatti’s ability to “tweet” bears no relationship to whether
he is located in Los Angeles or travelling in some other city.

 
 

 

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In addition, Mr. Avenatti remains an active attomey with clients and business

interests located throughout the United States, including in Chicago, Atlanta, Kansas

City, Michigan, and F lorida. Most recently, within the last three weeks, the Supreme

Court of Florida granted review in a matter in which Mr. Avenatti has served as
counsel since May 2005 (fourteen years), which Mr. Avenatti successfully tried to
verdict in 2014 and subsequently argued on appeal.

Mr. Avenatti is also presently assisting with multiple state and federal criminal
investigations/prosecutions being led out of New York, Chicago, and Palm Beach,
Florida. These investigations/prosecutions include alleged crimes for rape, sexual
assault, sex trafficking of minors and child pornography and have become extremely
active since Mr. Avenatti’s bail conditions were originally set on March 25. It is
important that Mr. Avenatti be permitted to travel throughout the United States in

order to assist prosecutors and investigators in these matters.

Hl. Mr. Avenatti is Not a Flight Risk

 

There can be no legitimate argument that Mr. Avenatti, who until late March
had never been charged with a single crime in his life, is a flight risk and therefore
should have his travel restricted, Indeed, each of the following facts demonstrate that

Mr. Avenatti is not a flight risk nor can the government legitimately claim he is a flight

risk:

1. Mr. Avenatti’s family established roots in the Central District beginning

in approximately 1905, 114 years ago,

 

 

 

 

 
 

 

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2. Mr. Avenatti has been a continuous resident of the Centra] District for the

last 19 years. He presently has three minor children who reside in Newport Beach.

3. Mr. Avenatti has practiced law in California for 19 years with no prior

disciplinary action before recently, with his principal law office located in the Central

District.

 

4. The arrest warrant for Mr. Avenatti issued out of this district on Friday,
March 22, Government agents were in the gallery watching his testimony in a debtor’s
exam both prior to and after the arrest Warrant was issued that day, with the scheduled
testimony taking place in F ederal District Court in downtown Los Angeles. The
government then permitted Mr. Avenatti to remain free all weekend and to fly to New
York on Sunday night with both of his passports (U.S. and Italy) in his Possession.
They did not arrest him until! Monday in New York, after which prosecutors from this
district held a press conference in New York for maximum media attention. Had the
government truly viewed Mr. Avenatti as a flight risk, they would have arrest him in
Los Angeles on Friday while he was in the federal courthouse for the entire day.

5. Mr. Avenatti had access to his Italian passport for approximately 60 hours
after his release in New York on March 25. He subsequently flew to Los Angeles,

where he surrendered the passport in Orange County.

6. Mr. Avenatti has voluntarily appeared in this district since being granted

bail for four separate court hearings across the last eight weeks,

 

 

 

 

 
 

 

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des Mr. Avenatti voluntarily flew to New York and surrendered last Tuesday
morning to the FBI in connection with the new indictment.

8. Mr. Avenatti voluntarily appeared at two hearings last Tuesday in New
York after he was released on bail.

9, Mr. Avenatti has enjoyed an excellent relationship with his Pre-Trial
Services officer and has not Violated the conditions of his release since his arrest on
March 25, 2019.

10. Mr. Avenatti has been travelling for work throughout the country (with
approval) without incident for the last nine weeks,

11. Mr, Avenatti is very well known, having given more TV interviews in the
United States in 2018 than any other individual. Simply put, it would be incredibly
difficult for him to flee due to his notoriety and the fact that he is easily recognizable.

Moreover, the government cannot reasonably claim that Mr. Avenatti’s ability to
flee would be heightened were he be permitted to travel more freely because the
current travel conditions already permit Mr. Avenatti free access to two major
international points of entry/exit — New York and Los Angeles.

IV. Pre-Trial Services Does Not Object to the Requested Modification

On May 30, 2019, the undersigned counsel contacted Pre-Trial Services officer

Shakira Davis in Los Angeles by e-mail, explaining the requested modification above.

Officer Davis responded that her office has no objection.

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V. Conclusion

The requested modification is a routine, almost ministerial change that is
normally stipulated to in this district, The requested modification is reasonable in light
of both the changed circumstances and the over-all facts of the case and defendant's
background. Defendant, therefore, respectfully requests that the Court
modify the travel condition as requested.

Dated: June 5, 2019 /s./ H. Dean Steward
H. Dean Steward

Counsel for Defendant
Michael Avenatti

 
 

 

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CERTIFICATE OF SERVICE

IT IS HEREBY CERTIFIED THAT:
I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of age.
My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672.
I am not a party to the above entitled action. I have caused, on 6-5-19 service of
#F ECF
the defendants:
Application for review of order Setting Bail Conditions
On the following parties electronically by e-mail, because the case is wholly under

seal:

AUSA's Brett Sagal & Julian Andre

I declare under penalty of perjury that the foregoing is true and correct.
Executed on 6-5-19
H. Dean Steward

H. Dean Steward

 
